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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                                                      Criminal Number 1:21-CR-238
vs.

Joshua Kahle Bustle

       Defendant

                 DEFENDANT’S POSITION PAPER WITH RESPECT
                       TO THE PRESENTENCE REPORT

       The defendant, by and through counsel, with respect to the sentencing factors and

material facts set forth in the presentence report dated July 6, 2021, prepared by Hana

Field, U.S. Probation Officer, states there are no factual objections to the report.


18 USC 3553(a) factors

The 3553 factors support a sentence range of probation only. While the maximum

punishment in this matter is confinement of up to 6 months in custody and a $5000 fine,

the Defendant reiterates the following factors:

         1.         The Defendant has no adult criminal record.

         2.         The Defendant is gainfully employed and is a participating member of

              society.

         3.         The Defendant caused no violence or damage to the US Capitol

              Building nor threatened any law enforcement officers during the January 6

              2021 encounter.

         4.         A similarly situated Defendant, namely - US v. Anna Morgan-Lloyd

              received a probation only sentence for almost identical conduct.
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         5.        The Defendant promptly accepted responsibility and plead guilty

              when the opportunity to do so was offered by the government.




CONCLUSION

       WHEREFORE, the defendant prays that this Court sentence the defendant in

accordance with this position paper, to issue a probation only sentence and to grant any

further relief as may be appropriate.



       Respectfully Submitted,

       Joshua Bustle


By: ______/s/___________________
       Counsel

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                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY THAT a true copy of the foregoing was emailed to:




Assistant US Attorney

Dcpdb_psi_documents@dcp.uscourts.gov
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This 12 day of July 2021

________/s/________________
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